                                      Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 1 of 13 Page ID #:58



                                                          1 CALLAHAN & BLAINE, APLC
                                                            Edward Susolik (State Bar No. 151081)
                                                          2 Raphael Cung (State Bar No. 201829)
                                                            3 Hutton Centre Drive, Ninth Floor
                                                          3 Santa Ana, California 92707
                                                            Telephone: (714) 241-4444
                                                          4 Facsimile: (714) 241-4445

                                                          5   Attorneys for Defendants CORE NEXUS LLC, DANIEL
                                                              LESIN, and ALEXANDER LESIN
                                                          6

                                                          7

                                                          8                     UNITED STATES DISTRICT COURT
                                                          9                   CENTRAL DISTRICT OF CALIFORNIA
                                                         10

                                                         11   PAGANI BEVERLY HILLS, a               Case No.
                                                              California corporation.               2:21-cv-01384 RSWL (MRWx)
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12
                       A PROFESSIONAL LAW CORPORATION
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                                                                              Plaintiff,            Hon. Ronald S.W. Lew
                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241-4444
                           WWW.CALLAHAN-LAW.COM




                                                         13
                                                                   v.
                                                         14                                         DEFENDANTS’ ANSWER TO
                                                            CORE NEXUS LLC, DANIEL LESIN,           COMPLAINT;
                                                         15 ALEXANDER LESIN, and DOES 1-            DEMAND FOR JURY TRIAL
                                                            20,
                                                         16
                                                                              Defendants            Complaint Filed: January 8, 2021
                                                         17                                         Case Removed: February 16, 2021
                                                                                                    No Trial Date
                                                         18

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                                                                                              ANSWER
                                      Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 2 of 13 Page ID #:59



                                                          1           Pursuant to FRCP Rule 8, Defendants Core Nexus LLC, Daniel Lesin, and
                                                          2   Alexander Lesin (“Defendants”) hereby respond as follows to the Complaint of
                                                          3   Plaintiff Pagani Beverly Hills (“Plaintiff”).
                                                          4           Defendants hereby use the headings in the Complaint for convenience and
                                                          5   ease of reference only, which should not be construed as accepting any
                                                          6   characterizations in such headings. The numbered paragraphs below correspond to
                                                          7   the paragraphs in Plaintiff’s Complaint.
                                                          8                                    INTRODUCTION
                                                          9           1.    Defendants lack sufficient knowledge to either admit or deny the
                                                         10   allegations in this paragraph, and therefore deny the same.
                                                         11           2.    Defendants admit that Defendant Core Nexus LLC is a limited liability
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   company formed under the laws of Montana. Other than expressly admitted herein,
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                                                         13   Defendants deny all allegations in this paragraph.
                                                         14           3.    Defendants admit that Defendant Alexander Lesin is a resident of New
                                                         15   York. Other than expressly admitted herein, Defendants deny all allegations in this
                                                         16   paragraph.
                                                         17           4.    Defendants admit that Defendant Daniel Lesin is a resident of New
                                                         18   York, and is a member of Core Nexus LLC. Other than expressly admitted herein,
                                                         19   Defendants deny all allegations in this paragraph.
                                                         20           5.    Defendants lack sufficient knowledge to either admit or deny the
                                                         21   allegations in this paragraph, and therefore deny the same.
                                                         22           6.    As this paragraph sets forth legal conclusions regarding personal
                                                         23   jurisdiction, there are no factual allegations herein that Defendants can admit or
                                                         24   deny.
                                                         25           7.    As this paragraph sets forth legal conclusions regarding personal
                                                         26   jurisdiction, there are no factual allegations herein that Defendants can admit or
                                                         27   deny.
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                                                                                                     ANSWER
                                      Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 3 of 13 Page ID #:60



                                                          1                               GENERAL ALLEGATIONS
                                                          2           8.    Defendants reallege and incorporate by reference as though fully stated
                                                          3   herein all responses to the paragraphs above.
                                                          4           9.    Defendants deny all allegations in this paragraph.
                                                          5           10.   Defendants deny all allegations in this paragraph.
                                                          6           11.   Defendants deny all allegations in this paragraph.
                                                          7           12.   Defendants deny all allegations in this paragraph.
                                                          8           13.   Defendants deny all allegations in this paragraph.
                                                          9           14.   Defendants deny all allegations in this paragraph.
                                                         10           15.   Defendants deny all allegations in this paragraph.
                                                         11           16.   Defendants deny all allegations in this paragraph.
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12           17.   Defendants deny all allegations in this paragraph.
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                                                         13           18.   Defendants deny all allegations in this paragraph.
                                                         14           19.   Defendants deny all allegations in this paragraph.
                                                         15           20.   Defendants deny all allegations in this paragraph.
                                                         16           21.   This paragraph sets forth legal conclusions about solvency or
                                                         17   insolvency, and there are no factual allegations that Defendants can either admit or
                                                         18   deny.
                                                         19           22.   Defendants deny all allegations in this paragraph, including but not
                                                         20   limited to all subparagraphs thereof.
                                                         21                       FIRST CAUSE OF ACTION FOR FRAUD
                                                         22                                 (Against All Defendants)
                                                         23           23.   Defendants reallege and incorporate by reference as though fully stated
                                                         24   herein all responses to the paragraphs above.
                                                         25           24.   Defendants deny all allegations in this paragraph.
                                                         26           25.   Defendants deny all allegations in this paragraph.
                                                         27           26.   Defendants deny all allegations in this paragraph.
                                                         28           27.   Defendants deny all allegations in this paragraph.

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                                                                                                      ANSWER
                                      Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 4 of 13 Page ID #:61



                                                          1         28.   Defendants deny all allegations in this paragraph.
                                                          2          SECOND CAUSE OF ACTION FOR BREACH OF CONTRACT
                                                          3                                (Against All Defendants)
                                                          4         29.   Defendants reallege and incorporate by reference as though fully stated
                                                          5   herein all responses to the paragraphs above.
                                                          6         30.   Defendants deny all allegations in this paragraph.
                                                          7         31.   Defendants deny all allegations in this paragraph.
                                                          8         32.   Defendants deny all allegations in this paragraph.
                                                          9         33.   Defendants deny all allegations in this paragraph.
                                                         10         34.   Defendants deny all allegations in this paragraph.
                                                         11     THIRD CAUSE OF ACTION FOR BREACH OF COVENANT OF GOOD
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12                             FAITH AND FAIR DEALING
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                                                         13                                (Against All Defendants)
                                                         14         35.   Defendants reallege and incorporate by reference as though fully stated
                                                         15   herein all responses to the paragraphs above.
                                                         16         36.   Defendants deny all allegations in this paragraph.
                                                         17         37.   Defendants deny all allegations in this paragraph.
                                                         18         38.   Defendants deny all allegations in this paragraph.
                                                         19         39.   Defendants deny all allegations in this paragraph.
                                                         20         40.   Defendants deny all allegations in this paragraph.
                                                         21         41.   Defendants deny all allegations in this paragraph.
                                                         22         42.   Defendants deny all allegations in this paragraph.
                                                         23               FOURTH CAUSE OF ACTION FOR FALSE PROMISE
                                                         24                                (Against All Defendants)
                                                         25         43.   Defendants reallege and incorporate by reference as though fully stated
                                                         26   herein all responses to the paragraphs above.
                                                         27         44.   Defendants deny all allegations in this paragraph.
                                                         28         45.   Defendants deny all allegations in this paragraph.

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                                                                                                   ANSWER
                                      Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 5 of 13 Page ID #:62



                                                          1         46.    Defendants deny all allegations in this paragraph.
                                                          2         47.    Defendants deny all allegations in this paragraph.
                                                          3         48.    Defendants deny all allegations in this paragraph.
                                                          4         49.    Defendants deny all allegations in this paragraph.
                                                          5         50.    Defendants deny all allegations in this paragraph.
                                                          6            FIFTH CAUSE OF ACTION FOR MISREPRESENTATION
                                                          7                                 (Against All Defendants)
                                                          8         51.    Defendants reallege and incorporate by reference as though fully stated
                                                          9   herein all responses to the paragraphs above.
                                                         10         52.    Defendants deny all allegations in this paragraph.
                                                         11         53.    Defendants deny all allegations in this paragraph.
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12         54.    Defendants deny all allegations in this paragraph.
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                                                         13         55.    Defendants deny all allegations in this paragraph.
                                                         14         56.    Defendants deny all allegations in this paragraph.
                                                         15         57.    Defendants deny all allegations in this paragraph.
                                                         16         58.    Defendants deny all allegations in this paragraph.
                                                         17         59.    Defendants deny all allegations in this paragraph.
                                                         18         60.    As this paragraph sets forth the relief sought by Plaintiff, there are no
                                                         19   factual allegations herein that Defendants can either admit or deny.
                                                         20            SIXTH CAUSE OF ACTION FOR UNJUST ENRICHMENT
                                                         21                                 (Against All Defendants)
                                                         22         61.    Defendants reallege and incorporate by reference as though fully stated
                                                         23   herein all responses to the paragraphs above.
                                                         24         62.    Defendants deny all allegations in this paragraph.
                                                         25         63.    Defendants deny all allegations in this paragraph.
                                                         26         64.    Defendants deny all allegations in this paragraph.
                                                         27         65.    As this paragraph sets forth the relief sought by Plaintiff, there are no
                                                         28   factual allegations herein that Defendants can either admit or deny.

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                                                                                                     ANSWER
                                      Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 6 of 13 Page ID #:63



                                                          1         SEVENTH CAUSE OF ACTION FOR CONSTRUCTIVE TRUST
                                                          2                                (Against All Defendants)
                                                          3         66.    Defendants reallege and incorporate by reference as though fully stated
                                                          4   herein all responses to the paragraphs above.
                                                          5         67.    Defendants deny all allegations in this paragraph.
                                                          6         68.    Defendants deny all allegations in this paragraph.
                                                          7                              AFFIRMATIVE DEFENSES
                                                          8         In addition, Defendants allege on information and belief the following
                                                          9   Affirmative Defenses against the Complaint.
                                                         10                          FIRST AFFIRMATIVE DEFENSE
                                                         11                          (Failure to State A Cause of Action)
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12         The Complaint, and each and every cause of action therein, fails to state facts
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                                                         13   sufficient to constitute any cause of action against Defendants.
                                                         14                         SECOND AFFIRMATIVE DEFENSE
                                                         15                                        (Estoppel)
                                                         16         Plaintiff is estopped by its conduct from recovering any relief sought in the
                                                         17   Complaint, or in any purported cause of action therein.
                                                         18                          THIRD AFFIRMATIVE DEFENSE
                                                         19                                         (Waiver)
                                                         20         By his conduct, Plaintiff has waived any right to recover any relief sought in
                                                         21   the Complaint, or in any purported cause of action alleged therein.
                                                         22                         FOURTH AFFIRMATIVE DEFENSE
                                                         23                                     (Unclean Hands)
                                                         24         Plaintiff’s claims are barred by the doctrine of unclean hands.
                                                         25                          FIFTH AFFIRMATIVE DEFENSE
                                                         26                                   (Comparative Fault)
                                                         27         Plaintiff did not exercise ordinary care on its own behalf, and its own acts and
                                                         28   omissions proximately caused and/or contributed to the loss, injury, damage, or

                                                                                                      -6-
                                                                                                    ANSWER
                                      Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 7 of 13 Page ID #:64



                                                          1   detriment alleged by Plaintiff, and Plaintiff’s recovery from Defendants, if any,
                                                          2   should be reduced in proportion to the percentage of Plaintiff’s negligence or fault.
                                                          3                            SIXTH AFFIRMATIVE DEFENSE
                                                          4                                       (Contribution)
                                                          5         The claimed damages suffered by Plaintiff, if any, were a direct and
                                                          6   proximate result of the negligence of parties, persons, corporations, and/or entities
                                                          7   other than Defendants, and any liability of Defendants, which they expressly deny,
                                                          8   is limited in direct proportion to the percentage of fault actually attributable to
                                                          9   Defendants.
                                                         10                         SEVENTH AFFIRMATIVE DEFENSE
                                                         11                                        (Good Faith)
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12         At all times, Defendants were acting in good faith.
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                                                         13                          EIGHTH AFFIRMATIVE DEFENSE
                                                         14                            (Intervening / Superseding Causes)
                                                         15         The injuries and damages of which Plaintiff complain were proximately
                                                         16   caused by or contributed to by the acts of parties other than Defendants, and such
                                                         17   acts were an intervening, superseding, and primary cause of such injuries and
                                                         18   damage, such that any alleged breach of duty or alleged wrongful act or omission of
                                                         19   Defendants alleged in the Complaint was not a proximate cause of Plaintiff’s alleged
                                                         20   damages.
                                                         21                            NINTH AFFIRMATIVE DEFENSE
                                                         22                                  (Conduct Was Justified)
                                                         23         The conduct of Defendants in regard to the matters alleged in the Complaint
                                                         24   was justified, and by reasons of the foregoing, Plaintiff is barred from any recovery
                                                         25   as against Defendants.
                                                         26

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                                                                                                     ANSWER
                                      Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 8 of 13 Page ID #:65



                                                          1                          TENTH AFFIRMATIVE DEFENSE
                                                          2                          (Comparative Fault Of Third Parties)
                                                          3         The incident and injuries, if any, suffered by Plaintiff were proximately
                                                          4   caused and contributed to by the negligence of third parties, and said third parties
                                                          5   failed to exercise reasonable care at and prior to the time of such injuries; by reason
                                                          6   thereof, any recovery by Plaintiff against Defendants must be reduced by an amount
                                                          7   equal to the proportionate fault of such third parties.
                                                          8                        ELEVENTH AFFIRMATIVE DEFENSE
                                                          9                                 (Accord And Satisfaction)
                                                         10         Plaintiff’s claims are precluded because there has been an accord and
                                                         11   satisfaction between Plaintiff and Defendants, and any of them.
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                                                         12                        TWELFTH AFFIRMATIVE DEFENSE
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                                                         13                                (Failure Of Consideration)
                                                         14         To the extent that Plaintiff’s claims are based on any alleged contracts, such
                                                         15   claims are precluded because there was a failure in consideration.
                                                         16                      THIRTEENTH AFFIRMATIVE DEFENSE
                                                         17                                         (Illegality)
                                                         18         Plaintiff’s claims are barred due to the illegality of his conduct, and/or the
                                                         19   proposed conduct that he sought from Defendants that is illegal.
                                                         20                      FOURTEENTH AFFIRMATIVE DEFENSE
                                                         21                                    (Statute Of Frauds)
                                                         22         Plaintiff’s claims are barred due to the statute of frauds, which makes
                                                         23   unenforceable one or more of the contracts claimed by Plaintiff.
                                                         24                       FIFTEENTH AFFIRMATIVE DEFENSE
                                                         25                                      (In Pari Delicto)
                                                         26         Even if Defendants were at fault with respect to the matters alleged in the
                                                         27   Complaint, which Defendants expressly deny, Plaintiff was also at fault, and
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                                                                                                     ANSWER
                                      Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 9 of 13 Page ID #:66



                                                          1   therefore can make no recovery and are barred from recovering any damages in this
                                                          2   action under the doctrine of in pari delicto.
                                                          3                         SIXTEENTH AFFIRMATIVE DEFENSE
                                                          4                                             (Excuse)
                                                          5          The performance by Defendants of any acts complained of by Plaintiff was
                                                          6   excused due to Plaintiff’s own wrongful conduct.
                                                          7                      SEVENTEENTH AFFIRMATIVE DEFENSE
                                                          8                                  (Avoidable Consequences)
                                                          9          The injuries and damages alleged in the Complaint were foreseeable to
                                                         10   Plaintiff; Plaintiff had the opportunity to avoid such damages by taking affirmative
                                                         11   action within Plaintiff’s capacity to prevent the alleged damages; Plaintiff failed to
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   take those actions necessary to avoid the damages alleged, and therefore Plaintiff is
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                                                         13   precluded from recovering any damages which were avoidable.
                                                         14                       EIGHTEENTH AFFIRMATIVE DEFENSE
                                                         15                             (Failure To Exercise Due Diligence)
                                                         16          Plaintiff failed to exercise due diligence, and any damages alleged by Plaintiff
                                                         17   are the direct result of Plaintiffs’ failure.
                                                         18                       NINETEENTH AFFIRMATIVE DEFENSE
                                                         19                            (Punitive Damages Not Appropriate)
                                                         20          Any award of punitive damages would constitute a fine or criminal penalty in
                                                         21   violation of the United States Constitution, the California Constitution, and any and
                                                         22   all other applicable laws. As such, any award of punitive damages against
                                                         23   Defendants would not be appropriate under Federal or state law, as Defendants have
                                                         24   not been guilty of oppression, fraud, or malice as required by Civil Code § 3294.
                                                         25                        TWENTIETH AFFIRMATIVE DEFENSE
                                                         26                                            (Privilege)
                                                         27          At all relevant times, Defendants’ conduct was privileged under the law.
                                                         28

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                                                                                                       ANSWER
                                   Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 10 of 13 Page ID #:67



                                                          1                     TWENTY-FIRST AFFIRMATIVE DEFENSE
                                                          2                           (Damages Claimed Are Speculative)
                                                          3         Plaintiff’s claims for damages are speculative and uncertain, and therefore not
                                                          4   recoverable in this action.
                                                          5                   TWENTY-SECOND AFFIRMATIVE DEFENSE
                                                          6                                 (Failure To Mitigate Damages)
                                                          7         Plaintiff has failed to mitigate its damages, if any, thus relieving Defendants
                                                          8   of responsibility for such damages.
                                                          9                    TWENTY-THIRD AFFIRMATIVE DEFENSE
                                                         10    (Reservation of Right To Amend And Add Additional Affirmative Defenses)
                                                         11         Defendants reserve the right to assert additional defenses to the extent that
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                                                         12   such additional defenses arise as discovery and investigation continue.
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                                                         13                                   PRAYER FOR RELIEF
                                                         14         Wherefore, based on Defendants’ non-liability to Plaintiff, Plaintiff’s inability
                                                         15   to prove the elements of any and all cause of action that it has alleged, and/or one or
                                                         16   more of Defendants’ affirmative defenses, Defendants Core Nexus LLC, Daniel
                                                         17   Lesin, and Alexander Lesin pray for the following relief in this action:
                                                         18         1.     That Plaintiff Pagani Beverly Hills take nothing by way of its
                                                         19   Complaint, and judgment thereon be rendered in favor of Defendants;
                                                         20         2.     That litigation costs be awarded to Defendants; and
                                                         21         3.     For any and all other relief that the Court may deem warranted.
                                                         22

                                                         23   Dated: March 3, 2021                    CALLAHAN & BLAINE, APLC
                                                         24
                                                                                                      By:
                                                         25                                                       Edward Susolik
                                                                                                                  Raphael Cung
                                                         26                                                 Attorneys for Defendants CORE NEXUS
                                                                                                            LLC, DANIEL LESIN, and
                                                         27                                                 ALEXANDER LESIN
                                                         28

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                                                                                                      ANSWER
                                   Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 11 of 13 Page ID #:68



                                                          1                             DEMAND FOR JURY TRIAL
                                                          2         Consistent with the Seventh Amendment of the U.S. Constitution, and any
                                                          3   applicable statute or other law, Defendants Core Nexus LLC, Daniel Lesin, and
                                                          4   Alexander Lesin hereby request a trial by jury of any and all claims so triable.
                                                          5

                                                          6   Dated: March 3, 2021                  CALLAHAN & BLAINE, APLC
                                                          7
                                                                                                    By:
                                                          8                                                     Edward Susolik
                                                                                                                Raphael Cung
                                                          9                                               Attorneys for Defendants CORE NEXUS
                                                                                                          LLC, DANIEL LESIN, and
                                                         10                                               ALEXANDER LESIN
                                                         11
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




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                                                                                                    ANSWER
                                   Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 12 of 13 Page ID #:69



                                                          1                             CERTIFICATE OF SERVICE
                                                          2                  Pagani Beverly Hills v. Core Nexus LLC et al.
                                                                         USDC, Central, Case No.: 2:21-cv-01384 RSWL (MRWx)
                                                          3
                                                                    I am employed in the County of Orange, State of California. I am over the
                                                          4   age of 18 years and am not a party to the within action; my business address is
                                                              3 Hutton Centre Drive, Ninth Floor, Santa Ana, California 92707.
                                                          5
                                                                    On March 3, 2021, I served the following document(s) described as
                                                          6
                                                                               DEFENDANTS’ ANSWER TO COMPLAINT;
                                                          7                         DEMAND FOR JURY TRIAL
                                                          8   on the interested parties in this action by placing: ☐ the original ☒ a true copy
                                                          9
                                                              to the following e-mail addresses as follows:

                                                         10
                                                                                 Please see attached “Service List”

                                                         11
                                                               ☒    BY EMAIL: I transmitted the foregoing documents by electronic mail to the
                                                                    party(s) identified on the attached service list by using the electronic mail as
                                                                    indicated. Said electronic mail was verified as complete and without error.
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                         SANTA ANA, CALIFORNIA 92707




                                                               ☐    BY MAIL: I deposited such envelope in the mail in Santa Ana, California.
                          TELEPHONE: (714) 241-4444
                           WWW.CALLAHAN-LAW.COM




                                                         13         The envelope was mailed with postage thereon fully prepaid. I am “readily
                                                         14
                                                                    familiar” with the firm’s practice of collection and processing correspondence
                                                                    for mailing. It is deposited with the United States Postal Service on that same
                                                         15
                                                                    day in the ordinary course of business. I am aware that on motion of party
                                                                    served, service is presumed invalid if postal cancellation date or postage meter
                                                         16
                                                                    date is more than one (1) day after date of deposit for mailing in affidavit.

                                                         17        I declare that I am employed in the office of a member of the bar of this court
                                                            at whose  direction the service was made. I declare under penalty of perjury under
                                                         18 the laws of the United States of America and the State of California that the

                                                         19
                                                            foregoing is true and correct.

                                                         20
                                                                    Executed on March 3, 2021, at Santa Ana, California.

                                                         21                                    /s/ Maria Martinez
                                                         22                                          Maria Martinez
                                                         23

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                                                                                                    ANSWER
                                   Case 2:21-cv-01384-RSWL-MRW Document 6 Filed 03/03/21 Page 13 of 13 Page ID #:70



                                                          1                           SERVICE LIST
                                                          2              Pagani Beverly Hills v. Core Nexus LLC et al.
                                                                     USDC, Central, Case No.: 2:21-cv-01384 RSWL (MRWx)
                                                          3

                                                          4 Michael Yadegari                        Attorneys for Plaintiff, PAGANI
                                                            LAW OFFICES OF MICHAEL YADEGARI         BEVERLY HILLS
                                                          5 287 South Robertson Blvd., Suite 221
                                                            Beverly Hills, CA 90211
                                                          6 Telephone: (310) 779-9327
                                                            Email: yadegariesq@gmail.com
                                                          7

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                                                                                          ANSWER
